                                           Case 5:17-cv-01027-BLF Document 77 Filed 07/11/18 Page 1 of 1




                                   1

                                   2

                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7    THEODORE BROOMFIELD, ET AL.,                        Case No. 17-cv-01027-BLF
                                   8                   Plaintiffs,
                                                                                            ORDER STRIKING DEFENDANTS’
                                   9            v.                                          MOTION TO STRIKE BOEDEKER
                                                                                            DECLARATION
                                  10    CRAFT BREW ALLIANCE, INC., et al.,
                                                                                            [Re: ECF 76]
                                  11                   Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          Defendant Craft Brew Alliance, Inc. (“Defendant”) has filed a Motion to Strike the June

                                  14   29, 2018 Declaration of Dr. Stefan Boedeker in Support of Plaintiffs’ Motion for Class

                                  15   Certification. See ECF 76. Defendant’s Motion to Strike is improper, and the Court STRIKES

                                  16   ECF 76 and its supporting declaration and exhibits in their entirety.

                                  17          Plaintiffs have not yet filed their Motion for Class Certification, including the anticipated

                                  18   Boedeker Declaration. To the extent that Defendant objects to the Boedeker Declaration or any

                                  19   other evidence relied on by Plaintiffs in support of class certification, Defendant’s objections must

                                  20   be briefed within the confines of its 25-page opposition brief to the class certification motion.

                                  21

                                  22          IT IS SO ORDERED.

                                  23

                                  24   Dated: July 11, 2018

                                  25                                                    ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  26                                                    United States District Judge
                                  27

                                  28
